                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                 GREENEVILLE DIVISION

 JIMMY HALE,                                       )
                                                   )
        Plaintiff,                                 )
                                                   )
 v.                                                )     No. 2:21–CV–118
                                                   )
 MADISON COUNTY, NORTH                             )
 CAROLINA, et al.,                                 )
                                                   )
        Defendants.                                )

                                               ORDER

        This matter is before the Court on the Report and Recommendation of the United States

 Magistrate Judge dated September 15, 2021. [Doc. 5]. In that Report and Recommendation, the

 Magistrate Judge recommends that Plaintiff’s Application to Proceed In Forma Pauperis be

 granted, and that his Complaint should be dismissed for failure to state a claim. [Id.]. Further, the

 Magistrate Judge recommends the denial of a motion to appoint counsel filed by Plaintiff. [Id.].

 No party has filed objections to the recommendation in the time allowed. See Fed. R. Civ. P. 72.

        After consideration of the record as a whole and after careful consideration of the Report

 and Recommendation of the United States Magistrate Judge, and for the reasons set out in that

 Report and Recommendation which are incorporated by reference herein, it is hereby ORDERED

 that this Report and Recommendation is ADOPTED and APPROVED, [Doc. 5], and that

 Plaintiff’s Application to Proceed In Forma Pauperis be GRANTED, [Doc. 1]. Additionally,

 Plaintiff’s Motion for Appointment of Counsel, [Doc. 4], is DENIED. Further, Plaintiff’s

 Complaint is DISMISSED without prejudice.




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      So ordered.

      ENTER:


                                          s/J. RONNIE GREER
                                     UNITED STATES DISTRICT JUDGE




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